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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

CENTER FOR BIOLOGICAL DIVERSITY et al.,       )
                                              )
        Plaintiffs,                           )
          v.                                  )   Case No. 3:23-cv-00061-SLG
                                              )
BUREAU OF LAND MANAGEMENT et al.,             )
                                              )
        Defendants,                           )
                                              )
CONOCOPHILLIPS ALASKA, INC. et al.,           )
                                              )
        Intervenor-Defendants.                )

                             NOTICE OF APPEAL




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       Notice is hereby given that Center for Biological Diversity, Defenders of

Wildlife, Friends of the Earth, Greenpeace, Inc., and Natural Resources Defense

Council, Plaintiffs in the above-named case, hereby appeal to the United States

Court of Appeals for the Ninth Circuit from the District Court’s Decision and

Order (Doc. 184) and Judgment (Doc. 185) dated and entered on the docket on

November 9, 2023. The case was first filed in the District Court on March 15,

2023 (Doc. 1). There was a prior appeal to the Ninth Circuit from an interlocutory

order that was voluntarily dismissed on May 19, 2023. Sovereign Iñupiat for a

Living Arctic v. Bureau of Land Mgmt., Nos. 23-35226 & 23-35227, 2023 WL

4339382 (9th Cir. May 19, 2023).

       Pursuant to Federal Rule of Appellate Procedure 12(b) and Ninth Circuit

Rule 3-2(b), Plaintiffs’ Representation Statement is attached hereto. Plaintiffs also

state that there is a related case, Sovereign Iñupiat for a Living Arctic et al. v.

Bureau of Land Management et al., Case No. 3:23-cv-00058-SLG (D. Alaska), for

which a notice of appeal was filed on November 14, 2023.




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Case No. 3:23-cv-00061-SLG                                                        1

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       Respectfully submitted this 14th day of November, 2023.

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Case No. 3:23-cv-00061-SLG                                                       2

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                             REPRESENTATION STATEMENT

Plaintiffs-Appellants

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Names of parties:

       DEFENDERS OF WILDLIFE
       FRIENDS OF THE EARTH
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CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                    1

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CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                    2

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Defendants-Appellees

Names of parties:

         BUREAU OF LAND MANAGEMENT
         UNITED STATES FISH AND WILDLIFE SERVICE
         NATIONAL MARINE FISHERIES SERVICE
         UNITED STATES DEPARTMENT OF THE INTERIOR
         UNITED STATES DEPARTMENT OF COMMERCE
         DEB HAALAND, in her official capacity as Secretary of the Interior
         LAURA DANIEL-DAVIS, in her official capacity as Acting Deputy
         Secretary of the Interior1
         GINA M. RAIMONDO, in her official capacity as Secretary of Commerce
         STEVEN COHN, in his official capacity as Alaska State Director of Bureau
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         SARA BOARIO, in her official capacity as Regional Director of United
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         JONATHAN KURLAND, in his official capacity as Regional Administrator
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1
    Laura Daniel-Davis is substituted for Tommy P. Beaudreau.
CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                 3

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Intervenor-Defendants-Appellees

Name of party:

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Case No. 3:23-cv-00061-SLG                                                  4

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Name of party:

       STATE OF ALASKA



CBD et al. v. BLM et al.,
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        REPRESENTATIVE DON BEYER
        REPRESENTATIVE ALEXANDRIA OCASIO-CORTEZ


CBD et al. v. BLM et al.,
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CBD et al. v. BLM et al.,
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                             CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2023, a copy of the foregoing

NOTICE OF APPEAL, with attached Representation Statement, was served

electronically on all counsel of record through the Court’s CM/ECF system.

       I further certify that Tarek Farag, tarekfaragusa@hotmail.com, was served

by electronic mail.

                       s/ Erik Grafe
                       Erik Grafe




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